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 5
       Liaison Counsel for Plaintiffs
 6
      [Additional counsel on signature block]
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
      IN RE CLEANSPARK, INC. DERIVATIVE                 Case No.: 2:21-cv-01004-GMN-BNW
11    LITIGATION,
12                                                      NOTICE THAT PLAINTIFFS ARE NOT
      This Document Relates to:                         FILING AN AMENDED COMPLAINT AT
13                                                      THIS TIME
            ALL ACTIONS
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             TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
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             PLEASE TAKE NOTICE that Plaintiffs Andrea Ciceri and Mark Perna, derivatively on
19
      behalf of CleanSpark, Inc. (“Plaintiffs”), are not filing an amended complaint at this time.
20
             On October 26, 2021, the Court issued a minute Order from the bench setting a schedule,
21
      which is referenced in the Joint Rule 26(F) Conference Report and Joint Discovery Plan that was
22
      so ordered by the Court on November 2, 2021 (“November 2 Order”). The November 2 Order
23
      states, in pertinent part, “Plaintiffs shall file their amended complaint, if any, on or before
24
      November 25, 2021[.]”
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             Plaintiffs hereby provide notice that they are not filing an amended complaint at this time.
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 1                                        Respectfully submitted,
 2     DATED: November 26, 2021
                                          _/s/ Patrick Leverty______________
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                                       Page 2 of 2
